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IN THE UNITED STATES DISTRICT COU T `H AUG - 9 20\8
FOR THE NORTHERN DISTRICT OF TE S » y
DALLAS DIVISION

 
 
  

UNITED STATES OF AMERICA

V. No. 3-188 R-409 l

DWAINE CARAWAY

FACTUAL RESUME

In support of Dwaine Caraway’s plea of guilty to the offense(s) in Count(s) One
and Two of the Information, Caraway, the defendant, Michael Payma, the defendant’s
attorney, and the United States of America (the government) stipulate and agree to the
following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Count One of the Information charging a violation
of 18 U.S.C. § 371, that is, conspiracy to commit honest services wire fraud in violation
of 18 U.S.C. §§ 1343 and 1346, the government must prove each of the following

elements beyond a reasonable doubt:l

First: That the defendant and at least one other person made an agreement
to commit the crime of conspiracy to commit honest services wire
fraud in violation of 18 U.S.C. §§ 1343 and 1346,_ as charged in the

Information;
Second: That the defendant knew the unlawful purpose of the agreement; and

Third: That the defendant joined in the agreement willfully, that is, with the

 

1 Fifth Circuit Pattem Jury Instruction 2.15A (Sth Cir. 2015).

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intent to further the unlawful purpose.

To prove the offense alleged in Count Two of the Information, charging a
violation of 26 U.S.C. § 7201, that is, TaX Evasion, the government must prove each of
the following elements beyond a reasonable doubt:

First.' 4 That there exists a substantial tax deficiency owed by the defendant
to the Internal Revenue Service, as charged;

Second.' That the defendant committed at least one affirmative act to evade or
defeat assessment or payment of the income taxes owed. An
affirmative act includes any conduct the likely effect of which Would
be to mislead or conceal; and

Third: That the defendant acted willfully, that is, the law imposed a duty on

the defendant, the defendant knew of that duty, and the defendant
voluntarily and intentionally violated that duty.

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STIPULATED FACTS

1. The defendant agrees that the following facts are true and correct and that
his testimony at any trial would reflect the same`.

2. F rom in or around 2011 to in or around 201`7, in the Dallas Division of the
Northern District of Texas and elsewhere, the defendant, Dwaine Caraway, Robert
Leonard, Slater Swartwood, Rick Sorrels, and others known and unknown, unlawfully,
willfully, and knowingly did combine, conspire, confederate and agree together and with
each other to violate Title 18, United States Code, Sections 1343 and 1346.

3. Caraway, at all relevant times, knew the unlawful purpose of the agreement
and joined in it willfully, that is, with the intent to further the unlawful purpose.

4. During the honest services fraud conspiracy, Caraway accepted
approximately $45(),000 from Leonard and Swartwood.

5. A substantial portion of this money was paid to Caraway through
Swartwood’s company, ELF Investments, under a real estate consultancy.

6. Caraway, at all relevant times, knew that the money he received from ELF
Investments was actually money from Leonard.

7. The money that Caraway received from Leonard for real estate consulting,
approximately $390,000, was excessive and Caraway knew that some of the money was
to secure his political influence due to his position as a City of Dallas Council Member so
he could further Leonard’s business interests in Dallas, including Force Multiplier

Solutions (FXS) and the stop-arm-program.

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8. After the real estate consultancy ended, Leonard and Swartwood created a
promissory note for $27(),000 and had Caraway sign it in an attempt to hide some of the
money that Leonard had already paid Caraway. Caraway never paid the money back and
had no intention of doing so.

9. Caraway also asked Leonard for money on numerous occasions and cashed
multiple checks provided by Leonard at a liquor store or pawn shop.

10. According to Caraway, the money and gifts that Leonard provided him
were based, in part, on Caraway’s support of FXS’s stop-arm-program with Dallas
County Schools.

11. Early on, Caraway told Leonard that he supported the stop-arm program
and asked Leonard to make political contributions Leonard made these contributions
because Caraway asked and knew that Caraway supported the stop-arm program.

12. On May 23, 2012, Caraway voted in favor of a Dallas City ordinance
creating a civil offense and fine for passing a raised stop-arm camera on a school bus
consistent with Leonard’s and FXS’sproposal. Caraway knew that the vote would
benefit Leonard financially and knew that FXS needed the ordinance for its program with
DCS.

13. Thereafter, Caraway began receiving money from Leonard regularly in
various forms, including the real estate consultancy, gifts, cash, checks, money to
Caraway’s campaign and advertising accounts, and paid travel. Five days after the 2012
vote, Leonard gave Caraway a $5,000 check with the word “Loan” written on the byline

which he cashed at a liquor store.

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14. By 2015, Caraway was on retainer for Leonard. That year, he made a
motion on the Dallas City Council to renew the stop-arm camera inter-local agreement
for 25 years. Caraway gave a speech in support of the motion and voted to renew the
agreement while he continued to receive money and gifts from Leonard. Caraway knew
that Leonard had an expectation that he would vote in favor of the agreement renewal and
extension.

15. Caraway did not disclose the money and benefits that he was receiving
from Leonard to the Dallas City Council, which could have jeopardized passage of the
inter-local agreement renewal.

16. In June 2012, Caraway also signed a letter written by Leonard which was
sent to the City of San Antonio in support of FXS’s/DCS’s bus stop-arm program
knowing that the letter would benefit FXS financially

17. While receiving money and benefits from Leonard, Caraway used his
official position as a City Council Member to further Leonard’s business endeavors in
Dallas, including FXS’s stop-arm program.

18. According to Caraway, Leonard would not have continued paying him or
providing him other benefits if Caraway had taken any adversarial actions regarding the
stop-arm program. Leonard’s expectations of Caraway’s total support in exchange for
the benefits also extended to Leonard’s real estate interests in South Dallas.

19. Starting in or about January 2014, and continuing through at least 2016, in
the Northern District of Texas and elsewhere, the defendant, Dwaine Caraway, also

willfully attempted to evade and defeat the payment of a substantial income tax due and

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owing by him to the United States of America, for the tax year 2014, by substantially
underreporting his income and by committing at least the affirmative acts described in
paragraphs 3 and 5 through 8 of the Information.

20. The defendant agrees and stipulates that he did not pay income taxes on a
substantial portion of the payments that he received from Leonard during tax years 2012
through 2014 resulting in a tax loss of $68,906. The defendant agrees to make restitution
to the Internal Revenue Service in this amount.

21. In tax year 2014, Caraway received $97,000 from Leonard all of which
constituted income under the federal tax laws.

22. Caraway knowingly and willfully failed to disclose the $97,000 in income
from Leonard to his tax preparer.

23. Caraway filed a false and fraudulent tax return for tax year 2014 by
omitting the $97,000 in payments that he received directly or indirectly from Leonard
during 20 1 4.

24. The defendant agrees that the defendant committed all the essential
elements of the offense(s). This factual resume is not intended to be a complete
accounting of all the facts and events related to the offense charged in this case. The
limited purpose of this statement of facts is to demonstrate that a factual basis exists to

support the defendant’s guilty plea to Count(s) One and Two of the Information.

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AGREED To AND sTIPULATED on this&vj day of Q/:l/fzm/ , 201§.

ERIN NEALY COX

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DwAINE CARAWAY vi
Defendant §
s* Bar No. 24052287
%lclaas, Texas 75242- 1699
Tel: (214) 659-8600

' Fax: (214) 659-8809
MI@HAEL `PNYMK/ Email: andrew.wirmani@usdoj.gov
Attorney for Defendant

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